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      Fill in this information to identify the case:

                  KC7 Ranch, Ltd.
      Debtor name __________________________________________________________________
                                              Northern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):
                                17-45166
                                _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     Fireman's Fund Ins Companies          Barbara Grothues                 Insurance
      Dept. CH 10284                        (210) 249-2329
      Palatine, IL 60055-0284               Barbara.grothues@worthamins                                                                                  4,828.60
                                            urance.com

2     Texas Pacific Land Trust              Tyler Glover (Lease)             Lease payment
      1700 Pacific Avenue, Suite 2770       (214) 969-5530
                                                                                                                                                        3,039.03
      Dallas, TX 75201


3     BBVA Compass Bank - Credit Card       (800) 316-0207                   Bank Fee/Credit
      P. O. Box 2210                                                         Card                                                                       1,383.93
      Decatur, AL 35699


4     WTG Fuels, Inc.                       Blanca Munoz                     Fuel
      P. O. Box 3514                        (432) 682-4349                                                                                              1,156.10
      Midland, TX 79702


5     Rio Grande Electric Cooperative       Marlene Espoinoz                 Utility
      P. O. Box 1509                        (830) 563-2444                                                                                              637.25
      Brackettville, TX 78832-1509          mespinoza@rgec.coop


6     Raquel Lopez                          Raquel Lopez                     Cleaning
      P. O. Box 179                         (830) 998-5023                                                                                              600.00
      Balmorhea, TX 79718


7     Hughes Network Systems, LLC           (800) 347-3272                   WiFi / Internet
      P. O. Box 96874                                                                                                                                   344.27
      Chicago, IL 60693-6874


8     DirecTV                               (800) 347-3288                   Cable
      P. O. Box 78626
                                                                                                                                                        281.80
      Phoenix, AZ 85062-8626




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                  KC7 Ranch, Ltd.                                                                                   17-45166
    Debtor       _______________________________________________________                        Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and    Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor      (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                        debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

9     Pecos Tire                           Velma                          Supplies
      P. O. Box 1148                       (432) 447-2006                                                                                              255.08
      Pecos, TX 79772                      pecostire@windstream.net


10 Morrison True Value Hardware            Denise                         Supplies
   301 North 5th Street                    (432) 837-2061
   Alpine, TX 79830                                                                                                                                    218.38


11 Gibson's Home Center                    Lupita                         Supplies
   810 Walthall Street                     (432) 447-9652
   Pecos, TX 79772                                                                                                                                     207.93


12 Republic Services #688                  Ashley Hudgins                 Trash removal
   P. O. Box 78829                         (432) 561-7635                                                                                             157.88
   Phoenix, AZ 85062-8829                  ahudgins@republicservices.co
                                           m

13 Accurate and Affordable                 Christine Kron                 Bookkeeping
    Bookkeeping Services                   (940) 445-2766                                                                                              Notice Only
   604 Cedar Street                        Kroncl@yahoo.com
   Mineral Wells, TX 76067

14 DialTone Services LP                    Lynn Gaad                      Satellite Phone
   P. O. Box 470910                        (877) 579-7802                                                                                              Notice Only
   San Francisco, CA 94147-0910


15 J. Scott Morris                         J. Scott Morris                Professional tax
   3355 Bee Caves Road, Suite 202          (512) 457-8523                 services                                                                     Notice Only
   Fort Worth, TX 78746-6673


16 Johnson Feed & Western Wear             Ysenia                         Supplies
   2600 East Highway 90                    (432) 837-5792                                                                                             Notice Only
   Alpine, TX 79830


17 McCoy's - Alpine #86                    Sarai Urquidez                 Supplies
   2700 East Highway 90                    (432) 837-7429                                                                                             Notice Only
   Alpine, TX 79830-4113


18 NAPA Auto Parts                         Paulie                         Supplies
   409 East 2nd                            (432) 617-8308                                                                                             Notice Only
   Odessa, TX 79761


19 Reeves County Feed & Supply             Toya                           Supplies
   1820 S. Bickley Ave                     (432) 447-2149                                                                                             Notice Only
   Pecos, TX 79772                         Bt_Gholson@yahoo.com


20 SEE ATTACHED PAGE 3




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
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        Debtor              KC7 Ranch, Ltd.                                      Case number (if known) 17-45166


Name of creditor       Name, telephone number, and      Nature of the claim       Indicate if     Amount of unsecured claim
and complete           email address of creditor        (for example, trade       claim is        If the claim is fully unsecured, fill in only
mailing address,       contact                          debts, bank loans,        contingent,     unsecured claim amount. If claim is
including zip code                                      professional              unliquidated,   partially secured, fill in total claim amount
                                                        services, and             or disputed     and deduction for value of collateral or
                                                        government                                setoff to calculate unsecured claim.
                                                        contracts)                                Total        Deduction        Unsecured
                                                                                                  claim, if    for value of     claim
                                                                                                  partially    collateral
                                                                                                  secured      or setoff

The following contingent, unliquidated and disputed claims involve individual relatives, affiliates and statutory insiders,
and any asserted claims are subject to 11 U.S.C.§§ 101(19)(C)(ii) and 510(b):
Glen M Darden,         c/o Counsel:                     Disputed, asserted        Contingent,       $0.00            n/a               $0.00
et al., claimants                                       claims arising in         Unliquidated,                    $0.00
in Matter of the       Walker C. Friedman               whole or in part          Disputed
Arbitration            wcf@fsclaw.com                   from the purchase
between Glen M.        Christian D. Tucker              and sale of securities
Darden, et al,         tucker@fsclaw.com                in KC7 Ranch, Ltd.
Claimants vs.          Friedman, Suder & Cooke, P.C.
Thomas F.              Tindall Square Warehouse No. 1
Darden, et al.,        604 East 4th Street, Suite 200
AAA Case No.           Fort Worth, Texas 76102
01-17-0003-3695        (817) 334-0144

                       H. Allen Pennington
                       appennington@phblaw.com
                       Pennington Hill, LLP
                       Tindall Square Warehouse No. 3
                       509 Pecan Square, Suite 101
                       Fort Worth, Texas 76102
                       (817) 332-5055




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